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                                        IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                              CASE NUMBER: 8:15CR195-002
                           Plaintiff,                         USM Number: 26406-047

        vs.
                                                              JAMES J. REGAN
                                                              DEFENDANT’S ATTORNEY
OLMAN RODAS-RAMOS

                           Defendant.

                                   AMENDED JUDGMENT IN A CRIMINAL CASE

Date of Original Judgment: 04/01/2016
(Or Date of Last Amended Judgment)

Reason for Amendment: Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

THE DEFENDANT pleaded guilty to counts II and IV of the Indictment on January 7, 2016.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

           Title, Section & Nature of Offense                     Date Offense Concluded               Count Number

21:841(a)(1) and 21:841(b)(1) DISTRIBUTION OF                        September 5, 2014                      II
METHAMPHETAMINE
8:1326(a) and 1326(b)(1) REENTRY OF A REMOVED                          June 1, 2015                         IV
ALIEN AFTER HAVING BEEN CONVICTED OF A
FELONY

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

Count I of the Indictment is dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal must be
filed with the Clerk of this Court within fourteen (14) days of this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised DNA Collection
Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States
attorney of any material change in the defendant’s economic circumstances.

                                                                         Date of Imposition of Sentence:
                                                                         April 01, 2016

                                                                         s/ Joseph F. Bataillon
                                                                         Senior United States District Judge

                                                                         April 6, 2016
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                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
thirty-six (36) months on Count II and thirty-six (36) months on Count IV, to run concurrent.

The Court makes the following recommendations to the Bureau of Prisons:

     1.    That the defendant participate in the 500-hour Comprehensive Drug Treatment Program or any similar drug
           treatment program available.

     2.    That the defendant be incarcerated in a federal facility as close to Denver, CO as possible.

     3.    Defendant should be given credit for time served.


     (X)            The defendant is remanded to the custody of the United States Marshal.

                                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________, 20___.

                                                                               _____________________________
                                                                                       Signature of Defendant

                                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________, 20____ to
______________________________________, with a certified copy of this judgment.

                                                                               _____________________________
                                                                                       UNITED STATES WARDEN

                                                                               BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed the Acknowledgment of
Receipt, above.

                                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of ______________, 20____.

                                                                               _____________________________
                                                                                       UNITED STATES WARDEN

                                                                               BY: __________________________
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                                                  SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3) years on Count II
and three (3) years on Count IV, to run concurrent.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.



                                      STANDARD CONDITIONS OF SUPERVISION

1.        The defendant shall not leave the judicial district without the permission of the court or probation officer;
2.        The defendant shall report to the probation officer in a manner and frequency directed by the court or probation
          officer.
3.        The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
          probation officer;
4.        The defendant shall support his or her dependents and meet other family responsibilities;
5.        The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
          training, or other acceptable reasons;
6.        The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7.        The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
          administer any controlled substance or any paraphernalia related to any controlled substances, except as
          prescribed by a physician;
8.        The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
          administered;
9.        The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
          person convicted of a felony, unless granted permission to do so by the probation officer;
10.       The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11.       The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12.       The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
          agency without the permission of the court;
13.       As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make
          such notifications and to confirm the defendant’s compliance with such notification requirement.
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                                       SPECIAL CONDITIONS OF SUPERVISION

1.        The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant to 28 C.F.R. §
          28.12, the DNA Fingerprint Act of 2005, and the Adam Walsh Child Protection and Safety Act of 2006, if such
          sample was not collected during imprisonment.

2.        The defendant shall submit his or her person, residence, office, or vehicle to a search conducted by a United
          States Probation Officer at any time; failure to submit to a search may be grounds for revocation; the defendant
          shall warn any other residents that the premises may be subject to searches pursuant to this condition.

3.        The defendant shall comply with all rules and regulations of the Bureau of Immigration Customs Enforcement and,
          if deported, shall not reenter the United States or reside therein without the express, written permission of the
          Secretary of the United States Department of Homeland Security.

4.        The defendant shall provide the probation officer with access to any requested financial information.

5.        The requirement of 18 U.S.C. § 3583(d) regarding drug testing within fifteen (15) days of release on supervised
          release and at least two (2) periodic drug tests thereafter, is suspended until further order of the Court because it
          appears the defendant will be deported.

6.        The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska between
          the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha, Nebraska, (402) 661-7555, within
          seventy-two (72) hours of being placed on probation or release from confinement and/or return to the United
          States, and, thereafter, as directed by the probation officer.
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                                                  CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
forth in this judgment.

            Total Assessment                                  Total Fine                          Total Restitution

                  $200.00


                                                                FINE
No fine imposed.

                                                             RESTITUTION

No restitution imposed.

                                                       SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $200.00 immediately.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to pay said sum
immediately if he or she has the capacity to do so. The United States of America may institute civil collection proceedings at
any time to satisfy all or any portion of the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall participate in the Bureau
of Prisons’ Financial Inmate Responsibility Program. Using such Program, the defendant shall pay 50% of the available
inmate institutional funds per quarter towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments to satisfy the criminal
monetary penalty in the following manner: (a) monthly installments of $100 or 3% of the defendant’s gross income,
whichever is greater; (b) the first payment shall commence 30 days following the defendant’s discharge from incarceration,
and continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing proof
of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order of priority: special
assessment; restitution; fine; and other penalties. Unless otherwise specifically ordered, all criminal monetary penalty
payments, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program,
shall be made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S. 18th Plaza, Suite 1152, Omaha,
NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances affecting the ability to
make monthly installments, or increase the monthly payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary to liquidate and apply the
proceeds of such property as full or partial payment of the criminal monetary penalty.


CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
